Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 1 of 16 PageID #: 106

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    1                         UNITED STATES DISTRICT COURT

    2                       WESTERN DISTRICT OF LOUISIANA

    3                             ALEXANDRIA DIVISION

    4      UNITED STATES OF AMERICA          *          CRIMINAL ACTION
                                             *          NUMBER 07-10030-01
    5                                        *
           vs.                               *          April 14, 2008
    6                                        *          11:11 a.m.
                                             *
    7      RICHARD L. McNAIR                 *          Alexandria, Louisiana
                                             *
    8      * * * * * * * * * * * * * * * * * *

    9

   10                                  SENTENCING

   11

   12      Certified transcript of proceedings before the Honorable
           Dee D. Drell, United States District Judge.
   13

   14      APPEARANCES:

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   24
           Proceedings recorded by mechanical stenography, transcript
   25      produced by computer.
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 2 of 16 PageID #: 107

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    1                   THE COURT:    Good morning to you-all.     This is

    2      United States v. Richard Lee McNair, Criminal Number

    3      07-10030.    The matter is called for sentencing at this

    4      time.

    5              Would y'all make your appearances, please?

    6                   MR. COWLES:    Good morning, Your Honor.      Jim

    7      Cowles on behalf of the United States.

    8                   MR. BLANCHARD:    And Wayne Blanchard for Richard

    9      McNair, Your Honor.

   10                   THE COURT:    All right.   I see Mr. McNair here

   11      with you.

   12              Good morning, Mr. McNair.

   13                   THE DEFENDANT:    Good morning, Your Honor.

   14                   THE COURT:    Everyone ready to proceed at this

   15      point?

   16                   MR. COWLES:    Yes, Your Honor.

   17                   MR. BLANCHARD:    Yes, Your Honor.

   18                   THE COURT:    All right.   And we moved the

   19      sentencing date forward at this point, again, I believe by

   20      everyone's request.       Is there any objection to the date;

   21      that is, to conduct the sentencing at this time?

   22                   MR. COWLES:    No, Your Honor.

   23                   MR. BLANCHARD:    No, Your Honor.

   24                   THE COURT:    All right.   Is there any other reason

   25      why sentence shouldn't be imposed at this time?
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 3 of 16 PageID #: 108

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    1                 MR. COWLES:     No, Your Honor.

    2                 MR. BLANCHARD:     No, Your Honor.

    3                 THE COURT:    Then have the defendant and defense

    4      counsel and the government received and reviewed a copy of

    5      the presentence report?

    6                 MR. COWLES:     Yes.

    7                 MR. BLANCHARD:     Yes, Your Honor.

    8                 THE COURT:    And are there any objections

    9      regarding the timing or receipt of the presentence report?

   10                 MR. COWLES:     Not from the government, Your Honor.

   11                 MR. BLANCHARD:     Not regarding the timing or

   12      receipt, no, Your Honor.

   13                 THE COURT:    Okay.    You know that's a different

   14      question from the other one.

   15            And Mr. Blanchard, you and your client have discussed

   16      the presentence report.      Would that be fair?

   17                 MR. BLANCHARD:     We have, Your Honor.

   18                 THE COURT:    And Mr. McNair, do you feel like you

   19      need any additional time to do that with Mr. Blanchard?

   20                 THE DEFENDANT:     No, Your Honor.     Thank you.

   21                 THE COURT:    All right.     I'm not sure I actually

   22      had y'all introduce yourselves.        Mr. Cowles, you're here

   23      for the government.

   24                 MR. COWLES:     Yes, sir.

   25                 THE COURT:    And I see Mr. Belgard at the table
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 4 of 16 PageID #: 109

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    1      next to you.    Obviously Mr. Blanchard and Mr. McNair are

    2      here.

    3              Now, objections, Mr. Blanchard, from you as to the

    4      factual statements contained in the presentence report.

    5                   MR. BLANCHARD:   Not as to the factual statements,

    6      Your Honor.

    7                   THE COURT:    All right.   What about the

    8      government?

    9                   MR. COWLES:   None, Your Honor.

   10                   THE COURT:    Any errors, additional corrections in

   11      the presentence report, or alterations or additions of any

   12      kind from either side that need to be made to make the

   13      presentence report accurate?

   14                   MR. COWLES:   Not from the government, Your Honor.

   15                   MR. BLANCHARD:   No, Your Honor.

   16                   THE COURT:    All right.   And as, then, the

   17      defendant, defense counsel, and the government don't have

   18      objections to the factual statements contained in the

   19      presentence report and as I find those statements to be in

   20      harmony with the evidence and the information presented,

   21      I'll adopt those factual statements as my findings of fact

   22      in this case.

   23              Now then, Mr. Blanchard, do you have anything that

   24      you'd like to say at this point in mitigation of

   25      punishment?
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 5 of 16 PageID #: 110

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    1                   MR. BLANCHARD:   Yes.   First of all, Your Honor,

    2      last week while I was in trial, I believe I got an addendum

    3      saying that there were no objections to the presentence

    4      investigation.    But to make it clear that in my presentence

    5      memorandum, that I did object to the suggestion that there

    6      should be an upward departure, so I want that on the

    7      record.

    8                   THE COURT:   Yes.   And I noted that.     I noted your

    9      objection to that.     In fact, I noted specifically your

   10      argument for a specific sentence, I assume in accordance

   11      with Gall.    That gives you the opportunity to do that.          And

   12      you, if I recall correctly, asked me to run the sentence

   13      concurrent, if I read it correctly.

   14                   MR. BLANCHARD:   I did, Your Honor.     And you know,

   15      there are no other reasons other than what I stated in my

   16      memorandum, but I would like to state, you know, some of

   17      those reasons.

   18            And those reasons are, first of all, the fact that he

   19      did not resist removal or extradition from Canada.          You

   20      know, it seems to me that it would have been -- if you were

   21      looking for another opportunity to escape, the best thing

   22      would have been to resist and to resist extradition and to

   23      remain in a Canadian jail.

   24            He also wanted to dispose of this, Your Honor, and did

   25      not take my suggestion that I thought, arguably, that this
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 6 of 16 PageID #: 111

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    1      should have been an assimilated defense, that he is not

    2      serving a federal sentence; he was serving a sentence for

    3      the state of North Dakota.      And with that in mind, I urged

    4      him to ask me to -- or to allow me to move to dismiss the

    5      indictment based on that, that it should have been an

    6      assimilated offense.     He didn't want to do that.       I think

    7      that all goes towards acceptance of responsibility.

    8            He did not want to go to trial.       Again, I think if

    9      you're looking for an opportunity to escape or if you're

   10      serving a life sentence, just to get out of the prison, I

   11      mean, one way to do it is to go to trial, to have to be

   12      transported every day.

   13            So I think those are all things that you can take into

   14      account in going along with the suggestion of the plea

   15      agreement, the non-binding recommendation from the United

   16      States that this should be a concurrent sentence.          He is

   17      already serving a life sentence.       I think everybody has to

   18      have a little hope that if they change their behavior,

   19      maybe there's a chance that he would be -- you know, have

   20      some short time of freedom and not die inside of a prison,

   21      Your Honor.    And with all of that in mind, I would urge you

   22      to impose a concurrent sentence.

   23                 THE COURT:    All right.    Thank you.    I want to be

   24      sure you haven't just created a problem here, Mr.

   25      Blanchard, with regard to potential defenses in the case.
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 7 of 16 PageID #: 112

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    1      My pretrial understanding in this matter was that there

    2      were compacts and agreements between the state and the

    3      government pursuant to which Mr. McNair was properly

    4      incarcerated in the first place.

    5                 MR. BLANCHARD:     There is.    I have those.

    6                 THE COURT:    Pardon me?

    7                 MR. BLANCHARD:     There is.    I have the paperwork,

    8      Your Honor.

    9                 THE COURT:    I mean, even at this late date, what

   10      are you doing with that legal defense?        You indicated you

   11      had --

   12                 MR. BLANCHARD:     I'm just saying that he waived

   13      it, Your Honor, and that that's something that you

   14      should -- you can take into account in giving him a

   15      concurrent sentence.

   16                 THE COURT:    All right.

   17            Mr. McNair, you understand what he's just said?

   18                 THE DEFENDANT:     Yes, sir.    And I concur with what

   19      he said, that I don't want to fight it anymore, you know.

   20      I've caused enough problems around here, you know, with

   21      what I did, and I understand that now.        And that's why I

   22      just want to plead guilty and get to the ADX and do my

   23      time, Your Honor.

   24                 THE COURT:    Okay.    Any comment from the

   25      government at this point with regard to that?
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 8 of 16 PageID #: 113

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    1                 MR. COWLES:     No, Your Honor.

    2                 THE COURT:    All right.    Very well.

    3            Anything else, Mr. Blanchard?

    4                 MR. BLANCHARD:     There is one other thing I wanted

    5      to say, Your Honor, and that is that he did debrief

    6      extensively with Deputy Marshal Belgard and with the

    7      Pollock officials about how he got out of Pollock and,

    8      again, we would ask you to take that into consideration as

    9      a reason for imposing a concurrent sentence.

   10                 THE COURT:    All right.    Thank you.

   11            How about you, Mr. McNair, do you have anything that

   12      you'd like to say or offer in mitigation of punishment?

   13                 THE DEFENDANT:     Yes, Your Honor.     In talking to

   14      Mr. Belgard, Marshal Belgard --

   15                 THE COURT:    Let me get you to keep your seat so

   16      you can use the microphone.

   17                 THE DEFENDANT:     In talking to Marshal Belgard, I

   18      didn't realize the problems that this caused in the

   19      community, the fear that it caused the people.          When you do

   20      something like this, I don't think you think about that.

   21      You know, that's not something that enters your mind.           You

   22      just -- I was angry and I lashed out.

   23            And I didn't realize the little lady that, you know,

   24      came home and her front door was open, she was fearful that

   25      I had entered her house.      And that doesn't enter your mind
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 9 of 16 PageID #: 114

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    1      when you do something like this.       And that's why I want to

    2      take responsibility for this and I want to get it over with

    3      and, you know, not hurt the community anymore.          That's one

    4      of the things that you don't think about, you know.

    5                   THE COURT:   Let me ask you a question.

    6                   THE DEFENDANT:   Anything, Your Honor.

    7                   THE COURT:   You keep trying to get out.

    8                   THE DEFENDANT: (Nods head up and down.)

    9                   THE COURT:   How do you mean you don't think about

   10      that?    I mean, you keep trying to go, keep trying to run.

   11                   THE DEFENDANT:   Nobody ever brought it to my

   12      attention the cost and the problems that it caused the

   13      community until I talked to Marshal Belgard.

   14              Marshal Belgard is a tremendous asset to this

   15      community.    He treated my family with respect.        He did his

   16      job in a respectful manner, and he pointed out, you know,

   17      some of the things that you don't look at.         I mean, like I

   18      say, that little lady, I don't know who she was, but when

   19      she came home and her front door was open -- I didn't enter

   20      her house.    I didn't go in anybody's home -- and when she

   21      came home and she found her front door open and she was

   22      scared to death, I think of what my mom or my family would

   23      have thought of, and you don't think about that.

   24              And I was very angry with the way North Dakota had

   25      treated me on my hearing and they kind of led me along.
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 10 of 16 PageID #: 115

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     1     And that's no excuse.      You know, that's no excuse.        I'm

     2     getting kind of off the beaten path here.

     3           I take full responsibility for what I did, and I'll

     4     spend the rest of my life in the ADX one way or the other,

     5     so, you know, it's part of life, man.

     6                 THE COURT:    All right, sir.

     7                 THE DEFENDANT:     Thank you.

     8                 THE COURT:    Anything from the government before

     9     sentence is imposed?

    10                 MR. COWLES:    No, Your Honor.

    11                 THE COURT:    All right.    With regard to a

    12     statement of reasons for imposing sentence, I find that the

    13     applicable offense level is 11.        The applicable criminal

    14     history is category Roman numeral V.         The applicable

    15     guideline ranges are 24 to 30 months incarceration, two to

    16     three years of supervised release, with probation not being

    17     applicable, and a 2,000 to $20,000 fine.         Restitution,

    18     likewise, is not applicable, but a $100 special assessment

    19     is applicable.

    20           And the reasons for those guideline determinations are

    21     set forth in the presentence report which I find reasonably

    22     addresses the criminal conduct in question, which

    23     accurately reports the applicable statutory sentences, and

    24     which accurately reports the correct term of supervised

    25     release and fine range.
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 11 of 16 PageID #: 116

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     1             And while I'm there, I am going to order that the

     2     presentence report be amended to correct Mr. Blanchard's

     3     observation, that he did object to -- whether it's actually

     4     an objection or a Gall argument, either way, he certainly

     5     gave us proper input on that, so I will call those

     6     objections because he labeled them that and we'll note

     7     that.

     8             With regard to deviation from the guidelines, what I'm

     9     going to do requires some comment because I truthfully

    10     considered sending a notice out in this case about an

    11     upward departure.     And that's because one thing that's not

    12     dealt with in the presentence report, to a large degree, is

    13     the time gap between Mr. McNair's escape and his return to

    14     custody, the fact that he went around, evaded, went to

    15     Canada, had to be caught in Canada and, yes, did waive

    16     extradition.     But frankly, considering -- and I decided not

    17     to exceed the guidelines in the case because it, frankly,

    18     probably doesn't make any difference, and everybody wanted

    19     to get this case resolved and completed, so sending the

    20     notice would only have delayed the sentence in the case.

    21     And the sentence I'm going to impose is otherwise adequate

    22     to handle the matter before us because the guidelines do

    23     contemplate escape in this regard, and also, 3553(a)

    24     factors don't otherwise yield compelling consideration not

    25     to apply the guidelines.
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 12 of 16 PageID #: 117

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     1           So in imposing this sentence, I've noted the positions

     2     of everybody involved.      I reviewed the documents, of

     3     course, and my role is to weigh all of the considerations

     4     and enter a sentence which is just under the circumstances,

     5     including the guidelines and the factors in 18 U.S.C.

     6     Section 3553(a).     And as I indicated, the sentencing

     7     considerations in this particular case are taken into

     8     account by the guidelines.

     9           And pursuant, then, to the Sentencing Reform Act of

    10     1984 and United States v. Booker, the defendant, Richard

    11     Lee McNair, is sentenced to serve 30 months in the custody

    12     of the United States Bureau of Prisons.         Pursuant to the

    13     provisions of Sentencing Guideline 5G1.3(a), this sentence

    14     shall run consecutively to the imprisonment sentence the

    15     defendant is currently serving.        Restitution is not

    16     applicable in this case.       And considering the defendant's

    17     financial condition and lengthy terms of incarceration, no

    18     fine is ordered.     And as Mr. McNair does pose a future risk

    19     of illegal substance abuse, the mandatory drug testing

    20     condition is ordered.      The defendant is also required to

    21     cooperate in the collection of DNA as directed.

    22           With regard to the consecutive sentence, let me make

    23     it clear for the record that that sentence is imposed

    24     consecutive to any state sentence or federal sentence he is

    25     presently serving or ordered to serve.
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 13 of 16 PageID #: 118

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     1           Okay.   Upon release from imprisonment, the defendant

     2     is placed upon a three-year term of supervised release.

     3     And while on supervised release, Mr. McNair shall comply

     4     with the standard conditions adopted by the court and the

     5     following special conditions:

     6           One, the defendant must apply any federal income tax

     7     refund received during the period of supervision toward any

     8     unpaid, court-ordered monetary obligations;

     9           Second, the defendant shall be subject to financial

    10     disclosure throughout the period of supervised release and

    11     shall provide U.S. Probation with all requested financial

    12     documentation.     He is required to report all household

    13     income to U.S. Probation as requested;

    14           Three, the defendant shall undergo a substance abuse

    15     evaluation and/or testing as directed by U.S. Probation;

    16     and

    17           Four, the defendant shall undergo a mental health

    18     evaluation and/or treatment sessions as deemed necessary by

    19     U.S. Probation.

    20           It's additionally ordered that the defendant pay a

    21     special assessment of $100 to be due immediately.

    22           The interest requirement is simply not applicable, but

    23     to the extent that it would otherwise be applicable, it

    24     would have been waived anyway.

    25           I realize that the imposition of supervised release in
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 14 of 16 PageID #: 119

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     1     this case may seem odd, unusual, or silly, but it is

     2     certainly possible at some point, because of information

     3     not of my knowledge, that Mr. McNair's life sentence could

     4     otherwise be commuted some kind of way or pardoned, so in

     5     the event he is released prior to the conclusion of his

     6     sentence, the supervised release would then, of necessity,

     7     kick in.

     8           With regard to appeal, Mr. McNair, I need to advise

     9     you that you can appeal your conviction if you believe your

    10     guilty plea was somehow unlawful or involuntary or if there

    11     is some other fundamental defect in the proceedings that

    12     was not waived by your guilty plea.

    13           You also have a statutory right to appeal your

    14     sentence under certain circumstances, particularly if you

    15     think the sentence is contrary to law.         And with few

    16     exceptions, any notice of appeal must be filed within ten

    17     days of judgment being entered in your case.          If you're

    18     unable to pay the cost of an appeal, you may apply for

    19     leave to appeal in forma pauperis, and if you so request,

    20     the clerk of court will prepare and file a notice of appeal

    21     on your behalf.

    22           Now, as to imprisonment, Mr. McNair, of course, is

    23     remanded back to the custody of the United States Marshal

    24     to begin service of the sentence in the case.

    25           There was a plea agreement in the case.         Are you
Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 15 of 16 PageID #: 120

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     1     satisfied, Mr. Blanchard, the government has fully complied

     2     with all obligations at this point?

     3                  MR. BLANCHARD:    I am, Your Honor.

     4                  THE COURT:    Are there any motions at this point

     5     from the government or otherwise?

     6                  MR. COWLES:   No, Your Honor.

     7                  THE COURT:    All right.   Then, I think everything

     8     in this case is concluded.

     9                  MR. BLANCHARD:    I do object to the sentence as

    10     being unreasonable, Your Honor.

    11                  THE COURT:    I understand.

    12           Mr. McNair, the odd part is, by all reports you're a

    13     very intelligent, talented guy, with otherwise great

    14     potential.    It's going to be difficult for you to do

    15     anything with that, probably, where you're going, but, you

    16     know, I just would like for you to have a better life even

    17     inside and figure out a way to live out your days in some

    18     peace, the best way I can figure it.

    19                  THE DEFENDANT:    Thank you, Your Honor.

    20                  THE COURT:    All right.   We're adjourned.

    21                    (End of proceedings at 11:28 a.m.)

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Case 1:07-cr-10030-DDD-JDK Document 34 Filed 03/11/09 Page 16 of 16 PageID #: 121




     1                            C E R T I F I C A T E

     2

     3           I, Myra Primeaux, Official Court Reporter, do hereby

     4     certify that the foregoing pages numbered 1 through 15 do

     5     constitute a true and correct record of proceedings had in

     6     said Sentencing to the best of my ability and

     7     understanding.

     8           I certify that the transcript fees and format comply

     9     with those prescribed by the court and the judicial

    10     conference of the United States.

    11           Subscribed and sworn to this 11th day of March, 2009.

    12

    13                                      s/ Myra Primeaux

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